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 6                                 UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8                                                  ***
 9   UNITED STATES OF AMERICA,      )
                                    )
10               Plaintiff,         )
                                    )
11   vs.                            )             2:12-cr-400-MMD-GWF
                                    )
12   TERRY J. WOLFE,                )
                                    )
13               Defendant.         )                      ORDER
     ______________________________ )
14
15          On February 27, 2013, the Court granted the defendant Terry J. Wolfe’s motion to dismiss
16   counsel and for appointment of new counsel (#74). Therefore;
17          IT IS HEREBY ORDERED that Kevin R. Stolworthy, Esq. is appointed as counsel for
18   Terry J. Wolfe in place of Jess R. Marchese, Esq. for all future proceedings.
19          IT IS FURTHER ORDERED that Mr. Marchese shall forward the file to Mr. Stolworthy
20   forthwith.
21
            DATED this 1st day of March, 2013.
22
            Nunc Pro Tunc Date: February 28, 2013.
23
24                                                        _____________________________________
                                                          GEORGE FOLEY, JR.
25                                                        United States Magistrate Judge
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